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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 COALITION FOR GOOD
 GOVERNANCE, et al.,

                Plaintiffs,
 v.                                          Civil Action No. 1:20-cv- 01677 -TCB

 BRAD RAFFENSPERGER, et al.,

               Defendants.




                               NOTICE OF APPEAL


      Pursuant to Rule 3 of the Federal Rules of Appellate Procedure, notice is

hereby given that Plaintiffs appeal to the United States Court of Appeals for the

Eleventh Circuit the District Court’s May 14, 2020 Order (Doc. 43) granting

judgment to Defendants, granting Defendants’ Motion to Dismiss, and denying

Plaintiffs’ motions for injunctive relief.

      Plaintiffs show that on May 26, 2020, the District Court entered an Order

(Doc. 56) denying Plaintiffs’ Rule 59 Motion to Alter or Amend Judgment (Doc.




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48). This Notice of Appeal accordingly is timely brought pursuant to Rules

4(a)(1)(A) and 4(a)(4)(A)(v) of the Federal Rule of Appellate Procedure.

      This Notice of Appeal is being filed electronically, and the $505.00 payment

of filing and docketing fees required by 28 U.S.C. § 1913 and § 1917 is being

remitted electronically to the Clerk of this Court contemporaneously with the filing

of this Notice of Appeal.

      Respectfully submitted this 25th day of June, 2020.

      /s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
      Bruce P. Brown                            Robert A. McGuire, III
      Georgia Bar No. 064460                    Pro Hac Vice Pending
      BRUCE P. BROWN LAW LLC                    ROBERT MCGUIRE LAW FIRM
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                   CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing pleading has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                   /s/ Bruce P. Brown
                                   Bruce P. Brown
                                   Georgia Bar No. 064460
                                   BRUCE P. BROWN LAW LLC
                                   Attorney for Plaintiffs
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                                   Suite 6
                                   Atlanta, Georgia 30306
                                   (404) 881-0700




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                          CERTIFICATE OF SERVICE


      I hereby certify that on June 25, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                                     /s/ Bruce P. Brown
                                                     Bruce P. Brown




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